Case 6:10-cr-00017-JCB-JDL         Document 238          Filed 09/28/10    Page 1 of 2 PageID #:
                                           699



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
V.                                                   §               CASE NO. 6:10cr17
                                                     §
BONNIE WILLIAMS DAVIS (06)                           §

            ORDER ADOPTING THE REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE


       By order, the undersigned referred this matter to the Honorable John D. Love, United States

Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #230]. The

Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

approve his plea agreement. He further recommended that the undersigned finally adjudge

Defendant as guilty on Count One Hundred Ten of the Indictment against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

Report and Recommendation [Clerk’s doc. #230] of the United States Magistrate Judge is

ADOPTED.




                                               -1-
Case 6:10-cr-00017-JCB-JDL        Document 238       Filed 09/28/10     Page 2 of 2 PageID #:
                                          700




       It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the
   .
Court. Further, the plea agreement is approved by the Court, conditioned upon a review of the

presentence report. It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the

Court finds the Defendant GUILTY of Count One Hundred Ten of the Indictment in the above-

numbered cause and enters a JUDGMENT OF GUILTY against the Defendant as to Count One

Hundred Ten of the Indictment.

       SIGNED this 28th day of September, 2010.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




                                             -2-
